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              JOINT RESPONSE BY LABATON SUCHAROW LLP
                     AND CHARGOIS & HERRON, LLP




TO THE REQUEST FOR QUALIFICATIONS ("RFQ") FOR OUTSIDE LEGAL COUNSEL
     SECURITIES LITIGATION, CLASS ACTION MONITORING AND ADVICE;
                            ASSET RECOVERY

                                July 30, 2008



                        LABATON SUCHAROW LLP
                                140 Broadway
                         New York, New York 10005
                          Telephone (212) 907-0700
                           Facsimile (212) 818-0477
                                 Eric J. Belfi
                                   Partner
                          Direct Dial (212) 907-0878
                             ebelfi@labaton.com


                        CHARGOIS & HERRON, LLP
                            2201 Timberloch Place
                                  Suite 110
                         The Woodlands, Texas 77380
                          Telephone (281) 444-0604
                           Facsimile (281) 440-0124

                              Damon Chargois
                             Managing Partner
                             Dial (281) 444-0604
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5.      Requested Information

5.2    If with afirm, provide a description ofyour law firm, including historical background,     number and location    of
       firm offices, number of attornrys, and major areas ofpractice.

Response of Labaton Sucharow
Labaton Sucharow LLP was established in 1963 in New York City. At the firm's inception, the
majority of the practice was commercial work and less than half the work was contingent litigation.
Labaton Sucharow began providing securities litigation consulting services to public pension plans in
1995, the year of the passage of the Private Securities Litigation Reform Act (PSLRA).

Currently, two-thirds of the firm's approximately 55 lawyers are dedicated to the prosecution of
securities class actions, institutional investor "opt out" cases, and other shareholder actions.
Labaton Sucharow has one office location where the services discussed herein would be performed.
The firm is located at 140 Broadway, New York, NY 10005; Tel: (212) 907-0700. Labaton
Sucharow currently has approximately 55 attorneys, 17 paralegals and 69 additional support staff.
Class action securities litigation and related portfolio monitoring services represent Laba ton
Sucharow's principal practice area and source of revenue. The firm also maintains an active antitrust
class action practice.

Response of Chargois & Herron
Chargois & Herron, LLP was established in 2005 by Timothy P. Herron and Damon J. Chargois
after working together and separately in commercial, class action, mass tort and insurance defense
litigation for fourteen (14) plus years. Both attorneys, along with partner, Che Williamson are
licensed in all federal and state courts in Arkansas and Texas. Chargois & Herron began providing
securities litigation services in 2006 and have been pleased to achieve significant monetary results for
public pension plans since that time.

Currently, we have offices in Little Rock, Arkansas and The Woodlands, Texas with six full-time
practicing attorneys who have held law licenses as follows: (Timothy Herron - 28 years), (Che
Williamson - 18 years), (Kamran Masheyekh - 18 years), (Damon Chargois - 14 years), (Carlos
Fernandez - 5 years) and (Kirk Chargois - 2 years). Our primary address is 2201 Timberloch Place,
Suite 110, The Woodlands, Texas 77380; (281) 444-0604.

5.3    State whetheryour response excludes a1!Y services contemplated f:y the RFQ setforth in the scope of services in
       section 3.2.

Labaton Sucharow's and Chargois & Herron's responses do not exclude any services contemplated
by the RFQ set forth in the scope of services in section 3.2.

5.4    State whetheryourfirm is able to conduct ongoing client porifolio monitoring (trackingporifolio trading and
       cross-referencing the trading against potential securities claims) f:y reviewing the System's porifolio losses on a
       regular basis, investigating potential claims, preparing detailed reports offindings; and presenting the findings
       toATRS.

Response of Labaton Sucharow
Labaton Sucharow is committed to high-level client service. A major component of the litigation
and client services that we propose to the ATRS is our portfolio monitoring program, that utilizes a
full compliment of professional analyses as well as out proprietary software system called LPAS©.



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We believe that a strong analysis and quick determination of possible financial exposure can be the
first line of defense when corporate misconduct and fraud result in investment losses.

Identification In its Case Evaluation Group, Labaton Sucharow has assembled several attorneys
and other professionals with decades of combined experience distilling information in the
marketplace in an effort to uncover and investigate instances of potential securities fraud on behalf
of our clients. Labaton Sucharow subscribes to and monitors sophisticated financial research
services, including Bloomberg and Thomson Reuters, the same tools used by analysts at major
financial services firms. We use these information services to monitor news coverage and market
activity throughout the day to identify potential securities law violations and analyze the impact of
the claims on our clients' portfolios. Among the other sources we monitor are: (i) the Federal
Securities Law Reports published by CCH; (ii) the Securities Class Action Services database
maintained by the Riskmetrics Group; (iii) Stanford Law School's Securities Class Action
Clearinghouse; and (iv) other legal journals and newspapers.

The Group includes five attorneys, led by Christopher Keller, who have many years of experience
performing this specialized function. The Group also includes two Wall Street analysts, several
damages analysts, and private investigators formerly with the Federal Bureau of Investigation. This
group has been pivotal to enhancing Labaton's institutional shareholder services by being able to
marshall the critical facts necessary to prevail in complex securities class action litigation.

Analysis When a security suffers a significant decline in value or when litigation has been
commenced against a company, we commence a multi-tiered analysis of the situation. The analysis
includes early identification and assembly of facts, legal and factual analysis and ranking (using a
proprietary grading system that allows us to objectively rate the facts), determination of the
magnitude of the alleged fraud (in terms of class-wide damages), and investigation of non-public
information and sources. This in-depth review yields a "grade" for the case that reflects our analysis
of the strengths and weaknesses of the claim. This grade is based upon a number of factors,
including the size of the company, evidence of intentional or reckless wrongdoing, the types of
issues involved (including any earnings restatements or other accounting issues), whether there is an
ongoing governmental investigation, the potential liability of third-party defendants such as auditors
or underwriters, the solvency of the defendant, and whether there was a significant stock price
decline in reaction to the alleged wrongdoing. The findings are captured in a summary report. An
example of such a review is attached as Exhibit A.

Review oflosses If we discover that the ATRS invested in a company that has engaged in allegedly
fraudulent behavior, we quickly can assess the losses incurred. This loss amount is an estimated loss
as limited by the PSLRA, which is not the same as your legally compensable damages. To that end,
LP AS (further discussed in Section 5.5, below), allows us to quickly quantify our clients' financial
exposure to the security at issue so that we may advise our clients on the strength of their position to
pursue litigation, either individually or as a lead plaintiff on behalf of a class of investors. This
assessment can be made as soon as a situation has been identified, depending on the data that is
available to us, and is an essential component of the advice we could provide to the ATRS on the
likelihood of its success were the ATRS to move to be appointed Lead Plaintiffs. Whether our
advice is to pursue litigation or not, it is based on our client's true financial interest in the litigation
and the merits of the case.




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Reporting Included in our analysis of the case, is an analysis of the options available to our clients.
If a case meets certain criteria, we will inform the ATRS about the issues involved in the case, and
we may request that the ATRS research their holdings so that we can provide an analysis of the
ATRS's financial exposure. On a case-by-case basis, we will provide a comprehensive legal analysis
for the client's review. An example of such a review is attached as Exhibit B. Additionally we
provide reports each quarter that recite our findings for the cases we have reviewed in prior periods
and the results of our research. Please refer to Exhibit C for an example of a Quarterly Report.

Many institutional clients expect and receive regular oral or written updates concerning matters of
potential interest. Typically, we would first discuss the issues of a specific case that we are analyzing
with the ATRS before a report is submitted. However, other reports - primarily our quarterly
reports and any urgent/time-sensitive matter that we are bringing to the ATRS's attention - might
be transmitted via e-mail to our contact at the ATRS without a formal discussion beforehand. The
decision to commence an action and overall litigation strategy are always made after close
consultation between Labaton Sucharow and our client, and at a client's request, Labaton Sucharow
will circulate drafts of court filings well in advance of filing dates for review and comment.
Monitoring services will be handled by partner, Christopher Keller, and the overall relationship
would be managed by partner, Eric Belfi. Matters connected to litigation would be managed by Mr.
Belfi and chairman, Mr. Lawrence Sucharow. Please see Exhibit D, to view the full resume of each
attorney.

Recommendation We are protective of our institutional clients and therefore proceed carefully
before recommending legal action. Quite often, the results of our analysis indicate that it is not
advisable for the client to participate as a lead plaintiff, because the amount of the loss is not
significant or participating as a lead plaintiff may not be in the client's best interests for other
reasons. If we determine that claims lack merit or are weak, we will so advise. A law firm cannot
guarantee success in securities litigation, but according to the annual securities class actions study
published by Cornerstone Research, for the past three years Labaton Sucharow, on a percentage
basis, recovers more than any other plaintiffs' class action firm.

In any case, our recommendation will be an informed one, suited to the needs of the client. Labaton
Sucharow recognizes that clients desire varying levels of involvement with these processes, and the
firm certainly can provide training to effectively supervise and assist in these activities.

Response of Chargois & Herron
Chargois & Herron has six attorneys and three paralegals with decades of combined experience in
monitoring and researching corporations and the market in analyzing conduct with an eye toward
discovering possible impropriety. Additionally, we work closely with counsel in New York,
including Labaton Sucharow, and California in order to stay abreast of trends and activities in the
market. We are free to utilize their resources and they ours - at any time in an effort to provide the
best service to our institutional investor clients.

Chargois & Herron owns an Alabama company called 270 Discovery Solutions which provides
document research, indexing and computer inputting of the millions of items of information
contained in the documents that are routinely produced - usually under court order - in securities
class action litigation. Uniquely, our company is staffed almost entirely by licensed attorneys,
numbering in excess of 25 attorneys. This puts Chargois & Herron in a unique and special position
to handle any securities litigation matter, regardless of size.



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5. 5   State whetheryourfirm has the ability to monitor the A TRS porifolio in this regard through access to the
       ATRS custodial account, rather than requesting ATRS stcifffor information regarding securities holdings.

Response of Labaton Sucharow
Yes, Labaton Sucharow has the ability to monitor the ATRS portfolio through access to the ATRS
custodial account. We have relationships with all of the major custodial banks in the U.S. and have
handled multiple systems when retrieving our clients' data. Therefore, the necessary information is
gathered without intrusion into our clients' day-to-day business. At the outset, a minimal effort is
required to set up the authorization and permissions for our access to the ATRS portfolio. Beyond
that, our team handles the rest of the communications with the custodian and the retrieval of the
ATRS portfolio records.

Labaton Sucharow has invested significant resources to develop and maintain an infrastructure and
software program to accomplish this for our clients. Labaton Portfolio Analysis System (LPAS) is a
unique and proprietary database management and software application that allows us to capture our
clients' trading information and over time build a historical record of the transactions, housed in our
internal, secure database. In particular, with access to our clients' historic trading records, LPAS
allows us to monitor the data and identify eligible losses. When a new situation is identified, LP AS
identifies matches between the securities owned by ATRS and will perform an analysis of their
financial exposure, using court-approved evaluation models. Please see Exhibit E for a description
ofLPAS.

Additionally, Labaton Sucharow has access to comprehensive information with respect to securities
class action settlements. The firm can provide this information to the ATRS's custodian bank at no
charge and make all necessary forms available to the custodian.

Response of Chargois & Herron
Chargois & Herron has the ability to monitor the ATRS through access to the ATRS custodial
account, rather than requesting ATRS staff for information regarding securities holdings.

5.6     S u!ject to the consent ef clients as required f:y applicable ethics rules, provide a listing ef representative clients.
        Responses mqy, with the consent ef the clients, include names and phone numbers ef specific references.
        S u!ject to the clients' consent, identijj specificalfy a1!Y pension plans or other major institutional investors,
        either private or public, to which you render or have rendered significant legal services concerning the relevant
        su!ject area(s) during the pastyear. If no clients consent, or ifyou elect not to request such consent, please so
        state and describe the representative clients in general terms to supportyourfirm's qualification and experience
        to represent A TRS.

Response of Labaton Sucharow
California Public Employees' Retirement System. The primary contact person is Peter H.
Mixon, Esq., General Counsel, 400 Q Street, Suite 3340, Sacramento, CA 95814. Tel: (916) 795-
3675.

New York State Common Retirement Fund. The primary contact person is Luke Bierman, Esq.,
General Counsel, Office of the New York State Comptroller, 110 State Street, Albany, NY 12236.
Tel: (518) 474-3444.




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New York City Retirement Systems. The primary contact person is Carolyn Wolpert, Esq.,
Deputy Division Chief, Pensions Division, New York City Law Department, Office of the
Corporation Counsel, 100 Church Street, Room 5-147, New York, NY 10007. Tel: (212) 788-0748.

New Mexico Educational Retirement Board. The primary contact person is Gary King, Esq.,
Attorney General State of New Mexico, 408 Galisteo Street, Villagra Building, Santa Fe, NM 87501.
Tel: (505) 827-6000.

Commonwealth of Massachusetts Pensions Reserves Investment Management Board. The
primary contact person is Grace H. Lee, Esq., First Deputy Treasurer/General Counsel, Office of
the State Treasurer, One Ashburton Place, 12th Floor, Boston, MA 02108. Tel: (617) 367-9333,
Ext. 307.

Response of Chargois & Herron
Among others, Chargois & Herron has represented, along with co-counselors, Bristol County
Retirement Systems, Inc., Plymouth County Retirement System and merchants in Class Action
litigation against credit card companies based on hidden surcharges.

5. 7    Provide a very brief summary resume describing the education, legal or investment experience, recent speaking
        engagements, and a list of significant, relevant publications of the attornry or attornrys proposed to work as
        lead attornry(s).

Response of Labaton Sucharow
The number and identity of the Labaton Sucharow and Chargois & Herron attorneys and other legal
professionals who would be assigned to a securities litigation matter on behalf of the ATRS would
vary depending on the size, complexity and issues in any given case. Assuming that a particular case
involved complex accounting issues, large numbers of documents, and dozens of fact and expert
witnesses, the team likely would be comprised of the following attorneys from Labaton Sucharow:
Eric J. Belfi, Lawrence A. Sucharow, Thomas A. Dubbs, Christopher J. Keller, Zachary M. Ratzman,
Ann E. Gittleman, and Krista T. Rosen; and Damon J. Chargois, Timothy P. Herron, Kamran
Mashayekh, and Che D. Williamson from Chargois & Herron. To view the full resume of each
attorney, please see Exhibit D.

Eric J. Belfi, a partner with the firm, is an accomplished litigator in a broad range of commercial
matters. He concentrates his practice in the investigation and initiation of securities and shareholder
class actions, with an emphasis on the representation of major international and domestic pension
funds and other institutional investors. Prior to entering private practice, Mr. Belfi served as an
Assistant Attorney General for the State of New York and an Assistant District Attorney for the
County of Westchester, New York. As a prosecutor, Mr. Belfi investigated and prosecuted
numerous white-collar criminal cases, including securities law violations. In this capacity, he
presented hundreds of cases to the grand jury and obtained numerous felony convictions after jury
trials.

Mr. Belfi is a regular speaker and author on issues surrounding securities litigation, with a focus on
international institutional investors. He was invited to speak at the prestigious Euroshareholders
Annual Conference, in Brussels, in February 2008. Most recently, he spoke regarding securities class
actions at the William H. Bowen School of Law at the University of Arkansas in June of 2008. Mr.
Belfi is the co-author of The Proportionate Trading Model.· Real Science or Junk Science? 52 Cleveland St. L.




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Rev. 391 (2004-05) and "International Strategic Partnerships to Prosecute Securities Class Actions,
Investment & Pensions Europe," Investments & Pensions Europe, 2005.

He received a B.A. from Georgetown University in 1992 and a JD. from St. John's University
School of Law in 1995.

Lawrence A. Sucharow, a nationally and peer recognized leader of the class action bar, is
the chairman of Labaton Sucharow. In his capacity as chairman, he participates in developing the
litigation and settlement strategies for virtually all of the class action cases Labaton Sucharow
prosecutes. For more than three decades, Mr. Sucharow has devoted his practice to counseling
clients and prosecuting cases on complex issues involving securities, antitrust, business transaction,
product liability, and other class actions.

Mr. Sucharow is the co-author of "Executive Compensation -- Despite Reforms, Pay Is Less
Transparent and Shareholder-Friendly Than in the Past," New York Law Journal, March 20, 2008, and
"FIFO vs LIFO, Different ways to calculate shareholder losses for purposes of appointing lead
plaintiff lead to different results," Investment & Pensions Europe, May 2006.

Mr. Sucharow earned a B.B.A., cum laude, from the Baruch School of the City College of the City
University of New York in 1971 and a JD., cum laude, from Brooklyn Law School in 197 5.

Thomas A. Dubbs, a senior partner with the firm, specializes in the representation of institutional
investors including pension funds in securities fraud and other types of litigation. A recognized
leader in the field, Mr. Dubbs represented the first major private institutional investor to become a
lead plaintiff in a class action under the Private Securities Litigation Reform Act. He was formerly
Senior Vice President and Senior Litigation Counsel for Kidder, Peabody & Co. Incorporated
("Kidder") for seven years, where he represented Kidder in a variety of matters, including in many
class actions. He is the only member of the plaintiffs' bar who has held a senior position at a major
investment bank, and is, thus, uniquely able to advise on issues involving the underwriting process
and due diligence requirements. Also, he is able to understand and anticipate the perspective and
strategy of defense counsel in securities cases, a substantial tactical advantage in determining the
proper approach to take in litigating, settling or trying a particular action.

Mr. Dubbs is the co-author of "US Focus: Time for Action," Legal Week, April 17, 2008. Mr. Dubbs
frequently lectures to institutional investors and other groups such as the Government Finance
Officers Association, the National Conference of Public Employee Retirement Systems and the
Council of Institutional Investors. In March 2008, Mr. Dubbs participated in a roundtable
discussion hosted by The Law Society in London regarding class actions lawsuits.

Mr. Dubbs received a B.A. and a JD. from the University of Wisconsin in 1969 and 197 4,
respectively. In 1971, he earned an M.A. from the Fletcher School of Law and Diplomacy of Tufts
University.

Christopher J. Keller, a partner with the firm, leads the firm's Case Evaluation Group and has been
involved in investigating and initiating numerous securities class actions. He was a member of the
trial team that successfully litigated the In re Real Estate Associates Limited Partnership Litigation in the
United States District Court for the Central District of California. The six-week jury trial resulted in
a landmark $184 million plaintiffs' verdict, which is one of the largest jury verdicts since the passage




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of the Private Securities Litigation Reform Act of 1995. Most recently, he was instrumental in
securing a $117.5 million settlement in In re Mercury Interactive Securities Litigation, which is one of the
largest settlements to date in a securities options backdating class action.

Mr. Keller is the co-author of "Tellabs': PSLRA Pleading Test Comparative, Not Absolute," New
York Law Journal, October 3, 2007, and "FIFO vs LIFO, Different ways to calculate shareholder
losses for purposes of appointing lead plaintiff lead to different results," Investment & Pensions Europe,
May 2006. Mr. Keller is a regular speaker at institutional investor gatherings. In June 2008, he
spoke at a Continuing Legal Education course on subprime and mortgage related claims.

Mr. Keller received a B.S. from Adelphi University in 1993 and a JD. from St. John's University
School of Law in 1997.

Zachary M. Ratzman, Of Counsel to the firm, has been practicing in the area of securities fraud
litigation for five years. Since early 2005, he has litigated the case In re American International Group,
Inc. Securities Litigation, on behalf of three Ohio pension funds and a class of defrauded investors, and
has played key roles in other noteworthy actions, including In re Bristol-Myers Squibb Securities
Litigation. Prior to joining Labaton Sucharow, Mr. Ratzman practiced white-collar criminal defense
and complex commercial litigation as an associate in the New York offices of Skadden Arps Slate
Meagher & Flom LLP and Patterson Belknap Webb & Tyler LLP.

Mr. Ratzman received a B.A. from Ohio University, where he graduated summa cum laude and with
Phi Beta Kappa honors. He earned a JD. from the University of Michigan Law School, where he
graduated, magna cum laude, and as a member of the Order of the Coif.

Ann E. Gittleman, an associate with the firm, is a Certified Public Accountant. Before becoming
an attorney, she worked for PricewaterhouseCoopers LLP for more than two years, where she
performed audits and interacted with governmental organizations, such as the SEC, IRS and
Attorney General Office, in coordinating and facilitating investigations. As such, she is uniquely
qualified to analyze complex fact patterns and utilize various principles of the accounting and
auditing profession in actions involving accounting fraud.

Ms. Gittleman earned a B.S. and a B.A., both magna cum laude, from Bryant University in 1999, and
received her JD. from Brooklyn Law School in 2004, where she was a member of both the Moot
Court Honor Society and the Securities Law Association.

Krista T. Rosen, an associate with the firm, focuses her practice in the area of securities class action
litigation. She is a member of the team litigating the federal securities fraud class action against AIG,
representing as Lead Plaintiff several Ohio pension funds.

Ms. Rosen earned a JD. from the Benjamin N. Cardozo School of Law in 2006. During law school,
she was selected to participate in the Securities Arbitration Clinic, where she represented investors in
arbitration actions against securities brokers. Additionally, she served as the Articles Editor of the
Cardozo Law Remew. In March 2006, she was awarded third place in the 2005-2006 national writing
competition sponsored by the Association of Securities and Exchange Commission Alumni
(ASECA) for her Note entitled, Stqying in Court While Stqying Discovery: Finding Exceptions for
Government-Produced Documents Under the PSLRA.




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Damon]. Chargois was born on December 26, 1966. He was admitted to the Texas Bar on
November 4, 1994, and the Arkansas Bar in 2006. Mr. Chargois received his undergraduate degree
in English Literature in 1991 and received his Doctor of Jurisprudence from the University of
Houston Law Center in May 1994. Mr. Chargois is licensed to practice in all Texas and Arkansas
Courts, as well as Federal District Courts and the U.S. 5th Circuit Court of Appeals. Additionally,
he has successfully tried a federal case to unanimous positive verdict that was subsequently affirmed
by the 5th Circuit Court of Appeals and, then, had writ of certiorari denied by the U.S. Supreme
Court, resulting in a final ruling affirming Mr. Chargois' verdict.

Mr. Chargois has handled a variety of class action and mass tort litigation cases, including a
commercial, occupational, mass torts, including business transactions, products liability,
pharmaceutical, class action, asbestos and benzene chemical exposures.

Upon graduating as class captain from his law school, Mr. Chargois worked as a corporate and
insurance defense attorney in Dallas, Texas, with the law firm Cowles & Thompson, P.C., while also
serving as criminal prosecutor for the townships of Rockwall, Rowlette, and Heath, Texas. In 1996,
he became a mass tort plaintiff's trial lawyer, ultimately rising to Head of Litigation for national law
firm Foster & Sear, L.L.P.

In 2004, the law firm Chargois & Herron was founded with Damon Chargois and Timothy P.
Herron. In 2006, Chargois, Mashayekh & Herron was formed to specialize in commercial and class
action lawsuits, and expand the firm's commercial and financial business interests. Mr. Chargois'
practice is multi jurisdictional and he oversees litigation in several states on the federal and state
level. He is a member of the State Bar of Texas Litigation Section, the American Association for
Justice, and Texas Trial Lawyers Association. Chargois, Mashayekh & Herron has offices in the
Woodlands, Texas; Little Rock, Arkansas; and New York, New York.

Mr. Chargois is a member of the Board of Directors for the University of Houston Law Alumni
Foundation. Additionally, he is a member of the Advisory Board of Directors for Houston
Achievement Place, a charity specializing in caring for the needs of at risk foster children. He has
also served as a guest lecturer on a number of legal topics, including mass tort litigation and
bankruptcy to the University of Arkansas-Little Rock Law School.

Timothy P. Herron was born in Hot Springs, Arkansas, on October 18, 1952. He was admitted to
the Texas Bar in 1980. Mr. Herron did his undergraduate and graduate education at Texas Christian
University receiving a Bachelor of Fine Arts in Speech and Communication in 197 4 and a Master of
Science in Speech and Communication in 1975. He taught as a professor at Samford University
before being awarded a Fulbright Scholarship to attend Baylor Law School in Waco, Texas where he
obtained his Juris Doctor Degree in 1980 (cum laude).

In law school, he was voted the most outstanding trial advocate in the nation and was on Baylor's
national winning mock trial team. Mr. Herron began as an attorney with Baker & Botts in Houston
in the employment litigation section. He left Baker Botts, to become a partner in the firm of Hope
& Mays and later Crews & Herron in Conroe, Texas. In 1990, along with Don Wetzel, he formed
the law firm of Wetzel & Herron which specialized in insurance defense and commercial litigation.

After representing mainly defense and commercial clients for eighteen years, Mr. Herron changed
his practice to handle only plaintiffs' mass torts. In 1998, he started the law firm of Hissey Kientz &




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Herron with Rob Kientz, and Mike Hissey, which since that time continues to handle mass tort
litigation. Their cases include a wide range of occupational and mass torts, including asbestos and
pharmaceutical litigation.

In 2004, the law firm Chargois & Herron was founded with Damon Chargois and Timothy P.
Herron. In 2006, the firm expanded to specialize in commercial and class action lawsuits, and
expand the firm's commercial and financial business interests. Mr. Herron's practice is multi
jurisdictional and he oversees litigation in several states on the federal and state level. He is licensed
in Texas and Arkansas. He is board certified in Civil Trial Litigation since 1989, is licensed to
practice in the Federal Courts of Texas, and is a member of the State Bar of Texas in the Litigation
Section and the AA] and TTLA. In addition, he is chairman of the Unauthorized Practice of Law
Committee of the State Bar of Texas, Region SA. Chargois & Herron has offices in the Woodlands,
Texas; Little Rock, Arkansas; and New York, New York.

Mr. Herron has expanded his business interests to include commercial banking and real estate. He
was also involved in the founding of Post Oak Bank in Houston in 2003. He has been involved in
the development and funding of commercial property development for the past four years in Texas,
Oklahoma and Alabama.

Tim Herron has resided in Montgomery County, Texas for the past 26 years and has six children
and one grandchild.

Kamran Mashayekh was admitted to the Texas State Bar on November 11, 1990. Mr. Mashayekh
received his undergraduate degree in Political Science from Rice University in 1987 and received his
Doctor of Jurisprudence from South Texas College of Law in August 1989.

In 2006, Kamran Mashayekh joined the law firm of Chargois & Herron to specialize in commercial
and class action lawsuits and expand the firm's commercial and financial business interest. Mr.
Mashayekh is fluent in English, Arabic, French and Spanish.

Che D. Williamson was born on November 25, 1964. She is married to Tim Herron and has 2
children and one grandchild. Ms. Williamson earned her Juris Doctor degree from South Texas
College of Law in 1989. She has practiced law with her husband, Tim Herron since 1989. Ms.
Williamson teaches mass torts at the William H. Bowen Law School at the University of Arkansas.
She is also board certified in Civil Trial Litigation and holds a Ph.D. degree in criminal justice from
Sam Houston State University and an L.L.M. in environmental law and policy from the University
Houston Law School.

5.8     Provide a very brief summary general description ofyourfirm's practice in the su!ject matter areas covered f:y
        this RFQ including the size and scope of the practice and a1!Y other resources ofyourfirm which are relevant
        to your practice in those areas.

Response by Labaton Sucharow
Labaton Sucharow has developed its expertise in prosecuting securities class actions over decades,
and litigation on behalf of injured institutional and individual investors represents the firm's
principal practice area. Since passage of the PSLRA, the firm has been appointed lead counsel on
numerous occasions, including cases involving the largest investor losses and most egregious frauds,
such as the current Countrywide, American International Group and HealthSouth litigations.




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As noted above in response to question 5.4, Labaton Sucharow has a dedicated Case Evaluation
Group comprised of attorneys and non-attorney professionals, who identify and evaluate cases of
possible fraud, and who have developed proprietary criteria to rate such cases.

Labaton Sucharow has cultivated a specific expertise in enforcing accountability on the part of
underwriters and accounting firms - entities that play an important role in the financial markets and,
we believe, have special responsibility to ensure its proper functioning. One partner of the firm,
who practiced for many years in the financial services sector, has made litigation against underwriters
a principal focus of his practice with the firm. Two attorneys at Labaton Sucharow are certified
public accountants, both with significant auditing experience. Their expertise in both law and
accounting provides the firm a special capacity to identify and analyze accounting-related fraud,
coordinate expert testimony, and effectively depose financial personnel.

The firm also highly values its non-attorney professionals, and believes that the close integration of
their financial and investigative expertise with the firm's legal work provides Labaton Sucharow an
unusual ability to build well-developed, thoroughly researched, and analytically rigorous cases and
present them effectively to judges and juries.

Distinctively, the firm has a demonstrated willingness to go to trial when necessary. Since 2000,
partners of the firm have served as lead or co-lead counsel in several major securities trials including,
In re Real Estate Associates Limited Partnerships Lltigation, No. 98-7035 (C.D. Cal.) and Koppel v. 4987
Corp., 167 F.3d 125 (2d Cir. 1999). In the Real Estate Associates litigation, Lawrence Sucharow co-led
a month-long jury trial that resulted in a $92 million compensatory award and a $92 million punitive
damages award (later reduced to the maximum allowed under California law). In Koppel, the firm
established a significant corporate governance precedent. We see our record of taking cases to trial
as critical to our ability to negotiate credibly and forcefully on behalf of the institutions and classes
we represent.

Finally, Labaton Sucharow strongly believes that shareholder litigation provides important public
benefits by insuring fair and efficient public markets, regulating corporate governance, and
controlling other deceptive conduct by public companies. The firm's senior partner, Edward
Laba ton, is a recognized authority on corporate governance issues, and is a member of the Advisory
Committee of the University of Delaware's Weinberg Center for Corporate Governance and the
New York City Bar Association's Task Force on the Role of Lawyers in Corporate Governance. He
has also been President of the Institute for Law and Economic Policy since its founding.

Response by Chargois & Herron
Chargois & Herron has offices in Little Rock, Arkansas and The Woodlands, Texas, in addition to
counsel affiliations with Labaton Sucharow in New York, Friedman Law Group in New York and
Markun, Zussman & Compton in Los Angeles, California for the primary purpose of investigating
and pursuing class action securities, commercial and consumer litigation which includes cases
involving large investor losses and egregious fraud. Chargois & Herron has an attorney who
dedicates a major portion of his work week watching the market, scouring financials and personally
speaking with clients, financial experts and business leaders in our continuing effort to discover and
root out fraud and misrepresentations by corporate wrongdoers.




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5.9    Provide a very brief summary description of not more than ten (10) significant transactions or cases in which
       yourfirm has provided extensive legal services involving pension funds or other institutional clients relating to
        the subject matter areas covered f:y this RFQ.

Response by Labaton Sucharow
With respect to securities litigation, Labaton Sucharow has obtained substantial recoveries for
institutional clients and associated classes in dozens of cases, and is recognized today as one of a
small number of firms with the expertise and resources to prosecute the largest and most complex
cases.

In one of the largest cases involving the recent subprime mortgage crisis, Labaton Sucharow serves
as lead counsel representing Lead Plaintiffs the State of New York and the New York City Pension
Funds (collectively, "the New York Funds") in In re Countrywide Securities Lltigation, No. CV-07-5295
MRP (MANx) (C.D. Cal.), pending before U.S. District Judge Mariana R. Pfaelzer in the U.S.
District Court for the Central District of California. This case is a consolidated class action asserting
claims under the Securities Act of 1933 and the Securities Exchange Act of 1934 against
Countrywide Financial Corporation, certain of its current and former directors and officers, outside
accountants, and underwriters of public offerings of Countrywide securities.

In In re American International Group Inc. Securities Lltigation, Civ. No. 04-8141 (LTS) (S.D.N.Y.),
Laba ton Sucharow is lead counsel on behalf of Lead Plaintiffs the Ohio Public Employees
Retirement System, and certain other Ohio state pension funds. Defendants include AIG, and its
present and former senior executives, underwriters, auditor, and parties to various fraudulent
transactions. In 2006, the court denied defendants' numerous motions to dismiss in substantially all
respects. The document review will likely be one of the largest in the history of securities litigation;
to date, we have reviewed more than 37 million pages of 40 million that defendants produced. Both
fact depositions and class certification depositions have begun.

In In re Mercury Interactive Corp. Securities Lltigation, Master File No. 05-3395, pending in the United
States District Court for the Northern District of California, Labaton Sucharow is acting as co-lead
counsel representing Lead Plaintiffs the Steamship Trade Association/International
Longshoremen's Association Pension Fund, the City of Sterling Heights General Employees
Retirement System, the City of Dearborn Heights Police and Fire Retirement System, and the
Charter Township of Clinton Police & Fire Pension System. The allegations in Mercury concern
backdated option grants used as unreported compensation to employees and officers of the
Company. Mercury's former CEO, CFO, and General Counsel actively participated in and
benefited from the options backdating scheme, which came at the expense of Mercury shareholders
and the investing public. Labaton Sucharow and Hewlett-Packard's counsel reached an agreement
in principle that will compensate injured plaintiffs in the total sum of $117 .5 million, a figure
representing the second largest known settlement or judgment in an options backdating suit to date.
Labaton Sucharow and Hewlett-Packard's counsel executed a Stipulation of Settlement and the
court granted preliminary approval of the settlement on June 2, 2008.

In In re Bristol-Myers Squibb Securities Lltigation, Civ. No. 00-1990 (GEB) (D.N.J.), Labaton Sucharow,
as sole lead counsel, prosecuted class claims on behalf of Lead Plaintiff, Longview Collective Fund
of the Amalgamated Bank. The firm reviewed more than 5 million pages of documents, took 44
factual depositions and 18 expert depositions and defended 8 experts. The case settled in January
2006 for $185 million. The settlement also included the important public benefit of an agreement



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by Bristol-Myers Squibb to post results of its clinical trials, including all adverse events, for a period
of ten years.

In In re HealthSouth Corp. Stockholder Litigation, No. CV-03-BE-1501-S (N.D. Ala.), Labaton Sucharow
represents Lead Plaintiffs the New Mexico State Investment Council and the New Mexico
Educational Retirement Board and serves as co-lead counsel. The litigation alleges a broad scheme
by the company's former senior managers in the largest securities fraud in the healthcare industry.
In January 2007, the court approved a settlement valued at $445 million with HealthSouth
Corporation and several of the Company's former officers and directors. The partial settlement,
comprised of cash and HealthSouth securities, is one of the largest in history. Lead Plaintiffs
continue their prosecution of the litigation against HealthSouth's former CEO, Ernst & Young, and
UBS.

In In re Waste Management, Inc. Securities Litigation, Civ. No. H-99-2183 (S.D. Tex.), Labaton Sucharow
was retained by the Connecticut Retirement Plans and Trust Funds. The litigation resulted in a $457
million settlement, one of the largest securities class action recoveries ever obtained. On behalf of
its client and the Class, Labaton Sucharow secured substantial corporate governance enhancements,
including measures designed to strengthen the role and independence of the defendant's audit
committee, declassify its board of directors, and encourage and safeguard whistleblowers among the
company's employees.

In In re Real Estate Associates Limited Partnerships Litigation, No. 98-7035 (C.D. Cal.), Labaton
Sucharow litigated and tried this case to a jury verdict in federal court in California in late 2002. The
firm obtained a precedent setting award of $92 million in compensatory damages under various legal
theories, including violations of Section 14(a) of the Exchange Act. The jury also awarded an
additional $92 million for punitive damages on a breach of fiduciary duty claim (which was later
reduced by the court on a motion for remittitur). The case was eventually settled for more than
100% of claimed damages.

Laba ton Sucharow also represents institutional investors in a number of individual securities actions.
For example, in In re Adelphia Communications Corp. Securities & Derivative Litigation, Civ. No. 03 MD
1529 (LMM) (S.D.N.Y.), the firm represents the New York City Employees' Retirement System
(and certain other New York City pension funds) and the Division of Investment of the New Jersey
Department of the Treasury in separate individual actions against Adelphia's officers, auditors,
underwriters, and lawyers. To date, Labaton Sucharow has fully resolved certain of the claims
brought by New Jersey and New York City for amounts that significantly exceed the percentage of
damages recovered by the Class. New Jersey and New York City continue to prosecute their claims
against the remaining defendants. In In re WorldCom Inc. Securities Litigation, Master File No. 02 Civ.
3288 (DLC) (S.D.N.Y.), Labaton Sucharow secured a substantial settlement in an individual action
brought by our clients SunTrust Bank and Trusco Capital Management, Inc. against the former
underwriters, auditors, and directors of WorldCom, Inc. In In re Qwest Communications International
Securities Litigation, 01-cv-01451 (D. Col.), after a class action settlement was announced in September
2006, Labaton Sucharow was engaged by CalPERS to pursue all appropriate opt-out securities
claims in connection with CalPERS' securities holdings in Qwest Communications Int'l Inc. We
drafted complaints for use in both federal and state courts, obtained and extension of pre-existing
polling agreement (which made it unnecessary for us to file complaints), represented CalPERS at
two mediation sessions with Qwest and related defendants, and negotiated the final settlement




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which was far greater than what CalPERS would have obtained in the class action and was
proportional to the largest other opt-out settlement obtained against Qwest that we know of.

Response by Chargois & Herron
Chargois & Herron has represented a number of plaintiffs against corporations who have been
proven to have acted fraudulently with respect to their shareholders or consumers.

In Bristol County Retirement System vs. HCC Insurance Holdings, Inc., we served as liaison counsel
representing the Massachusetts Public Pension Funds against HCC Holdings, Inc. arising out of its
fraudulent options backdating practices we alleged. After almost two years of litigation, we are
finalizing a significant settlement for our clients.

In Hollowqy v. Countrywide, we have co-counseled with Markun, Zussman & Compton against
Countrywide arising out of its fraudulent subprime mortgage practices. Recently, our case received
class certification status for the State of California.

Chargois & Herron owns an Alabama company called 270 Discovery Solutions which provides
document research, indexing and computer inputting of the millions of items of information
contained in the documents that are routinely produced - usually under court order - in securities
class action litigation. Uniquely, our company is staffed almost entirely by licensed attorneys,
numbering in excess of 25 attorneys. This puts Chargois & Herron in a unique and special position
to handle any securities litigation matter, regardless of size.

5. 10    Please describe proposed billing arrangements, including contingenry fees, for securities litigation. If other than
         contingenry fees are contemplated, please state the range of hourfy billing rates, f:y timekeeper status
         (paralegal, 1st to 3rdyear associate, etc., stciff attornry, shareholder or partner, of counsel, etc.), of all
         attornrys and paralegals proposedfor assignment to A TRS matters. State what discount, if a1!Y, to these
         rates the firm proposes to provide to A TRS. While this RFQprimarify seeks the services of one lead
         attornry, the involvement of otherfirm attornrys mqy be requiredfrom time to time, depending on the matter.

Response of Labaton Sucharow
Laba ton Sucharow confirms that monitoring and evaluating services provided under this Proposal
would be carried out at no cost to the ATRS.

The range of contingency fees that Labaton Sucharow proposes with respect to securities class
actions (and individual actions) that we successfully resolve as litigation counsel for the ATRS is
dependent on several factors anticipated at the beginning of the case, including the likelihood of
success, the likely size of any settlement or judgment from any or all defendants. For example, in a
case involving a solvent company, hundreds of millions of dollars in damages, and a defendant
company that has admitted wrongdoing and/ or filed a restatement, the proposed contingency fee
would be at the low end of the proposed range. In a case involving smaller damages, no admission,
no restatement, and potential difficulties in funding a settlement or a judgment, the risks of litigation
would be greater and therefore the proposed attorneys' fees would be at the higher end of the range.

On the basis described above, Labaton Sucharow proposes a range of fees generally conforming to
the following:




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                                                           STAGE OF LITIGATION
                      Initiation of action to    Thereafter, to completed
                      completed briefing of      briefing of motion for                             Thereafter
                      motion to dismiss (or,     summary judgment (or, if                           (including appellate
                      if no such motion,         no such motion, to       Thereafter, to trial      proceedings), to
                      initiation of discovery)   completion of discovery) and entry of iud!ZIDent   ultimate resolution

       Up to $150
           million
                              5-7%                        12-17%                  18-22%                 21-24%

      Greater than
      $150 million,
                              4-6%                        7-10%                   10-12%                 12-14%
        up to $250
            million

      Greater than
      $250 million
                              4-6%                        6-8%                     8-9%                    10%


Labaton Sucharow would offer legal services to the ATRS outside the scope of the "evaluation
counsel" and "litigation counsel" functions discussed in the RFQ at the discounted hourly rates set
forth below. These rates represent a discount of 40%-60% of the Firms' standard billing rates for
their attorneys.

               Eric J. Belfi                                       Zachary M. Ratzman } $
               Lawrence A. Sucharow                                Other Of Counsel       300
               Thomas A. Dubbs
                                                   $350
               Christopher J. Keller                               Ann E. Gittleman
               Other Partners                                      Krista T. Rosen          } $250
                                                                   Other Associates


Response by Chargois & Herron
Chargois & Herron, LLP confirms that monitoring and evaluating services provided under this
Proposal would be carried out at no cost to the ATRS.

The range of contingency fees that Chargois & Herron proposes with respect to securities class
actions (and individual actions) that we successfully resolve as litigation counsel for the ATRS is
dependent on several factors anticipated at the beginning of the case, including the likelihood of
success, the likely size of any settlement or judgment from any or all defendants. For example, in a
case involving a solvent company, hundreds of millions of dollars in damages, and a defendant
company that has admitted wrongdoing and/ or filed a restatement, the proposed contingency fee
would be at the low end of the proposed range. In a case involving smaller damages, no admission,
no restatement, and potential difficulties in funding a settlement or a judgment, the risks of litigation
would be greater and therefore the proposed attorneys' fees would be at the higher end of the range.

On the basis described above, Chargois & Herron proposes a range of fees generally conforming to
the following:




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                                                            STAGE OF LITIGATION
                       Initiation of action to    Thereafter, to completed
                       completed briefing of      briefing of motion for                              Thereafter
                       motion to dismiss (or,     summary judgment (or, if                            (including appellate
                       if no such motion,         no such motion, to       Thereafter, to trial       proceedings), to
                       initiation of discovery)   completion of discovery) and entry of iud!ZIDent    ultimate resolution

        Up to $150
            million
                               5-7%                        12-17%                 18-22%                   21-24%

       Greater than
       $150 million,
                               4-6%                        6-10%                  10-12%                   12-14%
         up to $250
             million

       Greater than
       $250 million
                               4-6%                        4-6%                    7-8½%                   8-9½%


Chargois & Herron would offer legal services to the ATRS outside the scope of the "evaluation
counsel" and "litigation counsel" functions discussed in the RFQ at the discounted hourly rates set
forth below. These rates represent a discount of 40%-60% of the Firms' standard billing rates for
their attorneys.

                Damon J. Chargois
                Tim Herron                                          Kirk A. Chargois         }
                Kamran Mashayekh                    $350            Carlos A. Fernandez          $250
                Che Williamson                                      (Associates)
                (Partners)



5.11     State a1!Y inability to compfy with terms of the engagement described in Section 3.3   of this RFQ. If a1!Y
         inability exists, be specific.

For both Laba ton Sucharow and Chargois & Herron, there are no inabilities to comply with the
terms of the engagement described in Section 3.3 of this RFQ.

5.12     Identijj a1!Y known relationship, either business orpersonal, which you or a member ofyourfirm has with
         a1!Y ATRS Board member, investment consultant, investment manager, or kry emplqyee. If aware of none,
         state "None." (/1 list ofATRS Board members, investment consultants, investment managers, and kry
         emplqyees can be provided upon request. A formal conflicts check will be required prior to contracting.)

Labaton Sucharow and Chargois & Herron are not aware of any known relationships.

5.13     Identijj a1!Y relationship, either business or personal, which you or a member ofyourfirm has with a person
         known to you to have substantial business dealings with A TRS or its real estate title-holding corporation.

To the best of our knowledge, Labaton Sucharow and Chargois & Herron do not have any
relationships, either business or personal, with a person who has substantial dealings with the ATRS
or its real estate title-holding corporation.




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5.14   State whetheryou or a1!Y firm attornry proposed to provide services for this engagement has ever had aformal
       grievance or complaint lodged against him or herpursuant to the applicable disciplinary rules or has ever been
       suedfor malpractice or a1!Y civil or criminal regulatory enforcement action in connection with a1!Y type ef legal
       representation, and whether a1!Y such attornrys have been sued individualfy with respect to a1!Y type ifpersonal
       investment or otherpersonal or business involvement concerning an underwriter or issuer ef securities,
       investment adviser, investment compa1!J, securities broker-dealer, insurer, real estate transaction, or a lending
       institution.

Response by Labaton Sucharow
Labaton Sucharow (and its predecessor firms) have been in business for more than 45 years. For
much of that time, the firm had a substantial general billable corporate practice as well as its
contingent class action litigation practice. Labaton Sucharow currently has a very small general
billable corporate practice. Throughout its existence, from time to time, issues have arisen which
required notification of our malpractice insurance carrier. At the present time, the firm has provided
notice of the following matters to its malpractice insurance carrier. (None of the matters of which
our carrier has been notified involves class action litigation).

Laba ton Sucharow is a defendant in a legal malpractice case brought by a former client who asserts
the firm and others committed malpractice in representing him in civil and criminal matters, and that
the firm inappropriately failed to compensate him in connection with a qui tam proceeding. The
claim is for an unspecified amount of damages.

In a separate action, on March 19, 2008, the preliminary executors of the estate of Jack Maurer
commenced an action in the Supreme Court of the State of New York against La baton Sucharow,
charging that the firm had committed malpractice in connection with estate planning services
rendered in 2001. The firm has moved to dismiss and the motion is currently pending before the
court.

Laba ton Sucharow's attorneys have never been sued individually with respect to any type of personal
investment or other personal or business involvement concerning an underwriter or issuer of
securities, investment adviser, investment company, securities broker-dealer, insurer, real estate
transaction, or a lending institution.

Response by Chargois & Herron
Chargois & Herron has never been sued for malpractice, nor had a formal grievance or complaint
lodged against it nor had any civil or criminal regulatory enforcement action brought against it;
however, Damon J. Chargois, individually has had a grievance in the Dillard's discrimination
litigation and a grievance in asbestos litigation brought against him, but both have been and were
dismissed

5.15    Foryour response to this RFQ, please indicate the firm's or attornry's professional liability insurance limits
        within the following ranges, and the name ef the carrier or carriers.

Response of Labaton Sucharow
$5 million to $ 10 million

Laba ton Sucharow's malpractice insurer is Lloyd's of London. Labaton Sucharow maintains
professional malpractice insurance coverage in the amount of $10 million, representing both the




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aggregate and per-claim annual policy limits and it is applied to the firm as a whole. Labaton
Sucharow also maintains a fiduciary policy with a $2 million limit.

Response of Chargois & Herron
Under $5 million

Chargois & Herron's malpractice insurer is Texas Lawyers Insurance Exchange (TLIE). Chargois &
Herron maintains professional malpractice insurance coverage in the amount of $1 million.

       Indicate below the range or the deductible or a1!Y se!finsured retention with respect to the foregoing insurance.

Response of Labaton Sucharow
Between $500,001 and $1 million

Labaton Sucharow's deductible is $1 million.

Response of Chargois & Herron
Between 0 and $100,000

Chargois & Herron's deductible is $25,000.




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